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                                                                            #:22 1 of 1


                                                      UNITED STATES DISTRICT COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                   ~   Western Division
                                                                 Plaintiff, ~
                                 vs.                                        ~   Case Number: 221-CR-00580-PA          Indictment
                                                                            ~   Initial App. Date: 12/20/2021         Cuslodv
Abdul-Malik McClain                                                         i   Initial App. Time: 1:00 PM




                                                             Defendant. ~ Date Filed: 12/16/2021
                                                                        ~ Violation: 18:1341: 18:102&A(aXl)

                                                                            ~ CourtSmart/ eporter:~)~~ SYYIG ~

       PROCEEDINGS HELD BEFORE UNITED STATES                                ~                      CALENDAR/PROCEEDINGS SHEET
           MAGISTRATE JUDGE: Gail J. Standish                               ~                       LOCAL/OUT-OF-DISTRICT CASE



      PRESENT:                Crawford, Holidae                                                                            None
                                                                  der r.l
                        Deputy Clerk                                       Assts nt U.S. Attorney                  Interpreter/Language
         ~INITIAL APPEARANCE NOT HELD -CONTINUED
         ~ Court issues Order under Fed. R Crim. P. 5(fl concerning prosecutor's disclosure obligations; see General Order 21-02(written order).
           Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
             ❑ preliminary hearing OR ❑removal hearing /Rule 20.
         ❑ Defendant states true name ❑ is as charged ❑ is
         ~ Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are directed to file all
          future documents reflecting the true name as stated on the record.
         ❑ Defendant advised of consequences offalse statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
         ❑
         Q Attorney: Alex Kessel, Retained ❑Appointed ❑ Prev. Appointed ❑ Poss. Contribution (see separate order)
            ❑ Special appeazance by:
         ❑ Government's request for detention is: ❑GRANTED ❑DENIED ❑WITHDRAWN ❑CONTINUED
         ❑ Contested detention hearing is held.   Defendant is ordered: ❑Permanently Detained ❑Temporarily Detained (see separate order).
             AIL FIXED AT $                                    (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
      ~Govemment moves to iJNSEAL Complai ndictment/I rmation/Entire Case:~GRANTED ❑DENIED
      ❑ Preliminary Hearing waived. ❑ Class B Misdemeanor ❑Defendant is advised of maximum penalties
        This case is assigned to Magistrate Judge                                     .Counsel are directed to contact the clerk for the setting
        of all further proceedings.
      ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
        District Judge                                                 for the setting of further proceedings.
      ~ Preliminary Hearing set for                         at 4:30 PM
         ~PIA set for:                                  at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
         ❑ Government's motion to dismiss case/defendant                                               only: ❑GRANTED ❑DENIED
         ❑ Defendant's motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
         ❑ Defendant executed Waiver of Rights. ❑Process received.
         ~ Court ORDERS defendant Held to Answer to                                 District of
            ❑ Bond to transfer, if bail is posted. Defendant to report on or before
            ❑ Warrant of removal and final commitment to issue. Date issued:                               By CRD:
            ❑ Wazrant of removal and final commitment are ordered stayed until
         ~ Case continued to (Date)                                  (Time)                                    AM / PM
           Type of Hearing:                            Before Judge                                          /Duty Magistrate Judge.
          Proceedings will be held in the ❑Duty Courtroom                                   ❑Judge's Courtroom
      ~efendant committed to the custody ofthe U.S. Marshal ❑Summons: Defendant ordered to report to USM for processing.
      ~~ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
         Abstract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
               LEASE ORDER NO:
            Other:            t                              a                        ~
                         PSA ❑ USPO~..~~ii   e:::~                              CR-10 C~R-29           READY                    ,~Q~~
                                        A 1 _ \~ ~~I                                   ~-4-h — ~XS~•-~ Deputy Clerk Initials __ j V`-!
                                       '~CTi~~      t                                                                         ~~

         M-5(10/13)                            CALENDAR/PROCEEDING SKEET -LOCAL/OUT-OF-DISTRICT CASE                                 Page 1 of 1




http://156.131.20.221/cacd/CrimIntakeCalNSF/1222c8c990b 1f46c882571 d2006f1655?0... 12/20/2021
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                UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. Abdul-Malik McClain                                        Case No. 2:21-CR-00580-PA
                                                  Defendant       ~ Material Witness

  Violation of Title and Section: 18:1341; 18:1028A(a)(1)
                                      Summons        ~ Out of District ~ UNDER SEAL              ~ Modified Date:

  Check ~o     one ofthefive numbered boxes below (unless one bond is to be replaced by another):
   1.      Person Recognizance Signature On y             (~),~ Affidavit of Surety With Justification       Release No.
                      Pp                                       (Form cR-3) Signed by:                              (~ '  I
  2.       Unsecured A earance Bond
       $                                                                                                      ~ Release to Pretrial ONLY
  3. Q Appearance Bond                                                                                        ~ Release to Probation ONLY
           $ 20.000                                                                                           ■ Forthwith Release
                                                                                                              Q
     (a).~ Cash Deposit (Amounr or ~)(Form cx-~)                   ~ With Full Deeding of Property:

     (b).Q Affidavit of Surety Without
           Justification (Form cx-4) Signed by:
                                                                                                                  All Conditions of Bond
             Grandmother - Pevver Bovd                                                                            (Exce tClearing-Warrants
                                                                                                                   Con~tion) Must be Met
                                                                                                                   and Posted by:



                                                                                                                  Third-Party Custody
                                                       4. ❑Collateral Bond in the Amount of(Cash                  Affidavit(Form CR-31)
                                                             or Negotiable Securities):
                                                              $                                               ■ Bail Fixed by Court:
                                                                                                              ~
                                                        5. ❑Corporate Surety Bond in the Amount of:            GTS        / he
                                                              $                                                 (Judge /Clerk's Initials)


                                                     PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
        The Court has ordered a Nebbia hearing under § 3142 (g)(4).
  ~ The Nebbia hearing is set for                                       at            ❑ a.m. ❑ p.m.

                                                ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
Q Submit to: ~■ Pretrial Services Agency (PSA) supervision as directed by PSA; ~ Probation (USPO) supervision as directed by USPO.
                 (The agency indicated above, PSA or USPO, will be referred to below as 'SupervisingAgency.'~

Q Surrender all passports and travel documents to Supervising Agency no later than December 20, 2021                         sign a Declaration

     re Passport and Other Travel Documents (Form CR-3~, and do not apply for a passport or other travel document during the pendency
     of this case.
■ Travel is restricted to CD/CA &Mississippi
Q                                                                                           unless prior permission is granted by Supervising
     Agenry to travel to a specific other location. Court permission is required for international travel.
■ Reside as approved by Supervising Agenry and do not relocate without prior permission from Supervising Agency.
Q
    Maintain or actively seek employment and provide proof to Supervising Agency. ~ Employment to be approved by Supervising Agency.
    Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                 Defendant's Initials:               Date: ~ ~ ~ v ^ 2 ~
CR-1 (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                 PAGE 1 OF 5
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   Case Name: United States of America v. Abdul-Malik McClain                                     Case No. 2:21-CR-00580-PA
                                                 Defendant      ~ Material Witness
   ■ Avoid all contact, directly or indirecfly (including by any electronic means), with any person who is a known victim or
   Q
        witness in the subject investigation or prosecution, ~ including but not limited to

                                                               except Confidential list to be provided by Government
       Avoid all contact, directly or indirecfly(including by any electronic means), with any known codefendants except in the presence
        of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

       Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
        you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
  ■ Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
  ~
        own legal or true name without prior permission from Supervising Agenry. ~■ In order. to determine compliance, you agree
        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not engage in telemarketing.
   ~
   ■ Do not sell, transfer, or give away any asset valued at $ 1000                            or more without notifying and obtaining
       permission from the Court, except
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agenry and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
        Supervising Agenry.
  ~
  ■ Do not use or possess illegal drugs orstate-authorized marijuana.      0■ In order to determine compliance, you agree to
       submit to a search of your person andJor property by Supervising Agenry in conjunction with the U.S. Marshal.
  0
  ■ Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, syntheric, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
       Submit to: ~ drug and/or Q alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agenry.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agenry.
       Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agenry. You must pay all or part of the costs
       of treatment based upon your abffity to pay as determined by Supervising Agenry. ~Release to PSA only 0Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agenry. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
       Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
       restrictions, under the direction of the Supervising Agenry. You must pay all or part of the costs of the program based upon your ability
       to pay as determined by the Supervising Agenry. You are financially responsible for any lost or damaged equipment.

       Location Monitoring Technology

            Location Monitoring technology at the discretion of the Supervising Agenry

       or



                                                                                Defendant's Initials: ~~~           Date: ~ 2 -2D —'Z
cR-i (o~izi)                                     DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                PAGE 2 OF 5
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   Case Name: United States of America v. Abdul-Malik McClain                                           Case No. 2:21-CR-00580-PA
                                                  Q Defendant       ~ Material Witness

               Location Monitoring with a bracelet
                   at the discretion ofthe Supervising Agency or
                   Radio Frequenry(RF)or
                   Global Positioning System (GPS)

                   Release to the Supervising Agenry only or     ~ Placement of bracelet within 24 hours of release
       or


               Location Monitoring without a bracelet

                   at the discretion of the Supervising Agenry or

                   Virtual/Biometric or

                   Voice Recognition



       Restrictions

            Location Monitoring only - no residential restrictions

            Curfew -You are restricted to your residence every day:
                  from                     to
                   as directed by Supervising Agenry

            Home Detenrion -You are restricted to your residence at all times except for employment,education, religious services, medical
               needs or treatment, attorney visits, court appearances and obligations, essential needs, and
               all of which must be preapproved by the Supervising Agenry
            Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
               appearances and obligations, and                                    , all of which must be preapproved by the Supervising Agency


      You are placed in thethird-party custody(Form CR-31) of
      Clear outstanding Q warrants or~ DMV and traffic violations and provide proofto Supervising Agenry within                    days
       of release from custody.
      Do not possess or have access to,in the home,the workplace, or any other location, any device that offers Internet access except
       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
       and/or properly by Supervising Agency in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written,telephonic, electronic, or any other communication with any person who is less than
       the age of 18 except in the presence of a parent or legal guardian of the minor.
      Do not loiter or be found within 100 feet of any schoolyard, park,playground, arcade, or other place primarily used by children
       under the age of 18.
      Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
                                                                                    Defendant's Initials: TNV~,~(      Date:   ~ Z-~Z ~j,-Z j
CR-1 (07/21)                                CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                             PAGE 3 OF 5
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  Case Name: United States of America v. Abdul-Malik McClain                                             Case No. 2:21-CR-00580-PA
                                              ■ Defendant
                                              ~                  ~ Material Witness

      Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
       of your person and/or property,including computer hardware and software, by Supervising Agenry in conjunction with the U.S.
       Marshal.
  ■ Other conditions:
  ~

       Defendant not apply for or assist anyone applying for government benefits without the assistance of pretrial.




                                              GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intunidate any witness,juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so> I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. 414135a.




                                                                                     Defendant's Initials:             Date: ~ ~--2 ~ `" Z- I
CR-1 (07121)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  PAGE 4 OF 5
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     Case Name: United States of America v. Abdul-Malik McClain                                     Case No. 2:21-CR-00580-PA
                                                 ■ Defendant
                                                 Q                 ~ Material Witness


                                    ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

     As a condition of my release on this bond,pursuant to Tide 18 ofthe United States Code> I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore,it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in frill force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release ofthis bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release ofthis bond,this bond
     maybe forfeited to the United States of America.If said forfeiture is not set aside,judgment maybe summarily entered in this
     Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution ofthe
     judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws ofthe
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
     forfeited.




               Z` Z~ ~Z~                                           c                                       ~L~a ~i2~ ~~~~
     Date                                 Signature ofDefendant/Material Witness                      Telephone Number



            '
            ~ ~~9e Y          ~~l   ~-f ~'b~ c d caw ya t ~z` ~ ~i
     City and State(DO NOTINCLUDE ZIP CODE)



         Check ifinterpreter is used:I have interpreted into the                                                  language this entire form
          and have been told by the defendant that he or she understands all of it.



    Interpreter's Signature                                                                         Date



     Approved:                                                                                          ~ 2 ~ ~~
                                                  Judge /Magistrate Judge                           Date

     Ifcash deposited: Receipt #                              for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                 Defendant's Initials:~Date:                 12"Z J~~ ~
CR-1 (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                               PAGE 5 OF 5
